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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION


    COMMUNITY FINANCIAL SERVICES
    ASSOCIATION OF AMERICA, LTD., and
    CONSUMER SERVICE ALLIANCE OF
    TEXAS,
                                                       Civil Action No. 1:18-cv-295
         Plaintiffs,

    v.

    CONSUMER FINANCIAL PROTECTION
    BUREAU and KATHLEEN KRANINGER,
    in her official capacity as Director, Consumer
    Financial Protection Bureau,1

         Defendants.



                                       JOINT STATUS REPORT

            Plaintiffs Community Financial Services Association of America, Ltd., and Consumer

Service Alliance of Texas, together with Defendants the Consumer Financial Protection Bureau

and Kathleen Kraninger, in her official capacity as Director of the Bureau, (collectively, the

“Parties”) submit this Joint Status Report pursuant to the Court’s Order dated November 6, 2018

(ECF No. 53).

            In this litigation, Plaintiffs challenge the Bureau’s “Payday, Vehicle Title, and Certain

High-Cost Installment Loans” rule (“Payday Rule” or “Rule”). The Rule contains two primary

components—underwriting provisions requiring lenders to assess borrowers’ ability to repay

before making covered loans and payments provisions governing lenders’ withdrawing payments


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   Director Kraninger is automatically substituted as a party in this case by operation of Federal
Rule of Civil Procedure 25(d).
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for covered loans from consumers’ bank accounts. The Bureau has now formally initiated a

rulemaking process to revisit the underwriting provisions (but not the payments provisions). In

particular, on February 14, 2019, the Bureau published in the Federal Register two notices of

proposed rulemaking: one that proposes to rescind the underwriting provisions, 84 Fed. Reg.

4252 (Feb. 14, 2019), and one that proposes to delay the compliance date for those provisions

until November 19, 2020, 84 Fed. Reg. 4298 (Feb. 14, 2019). The comment periods for those

proposed rules are open until May 15, 2019, and March 18, 2019, respectively.

       The parties have been engaged in discussions about how they believe the litigation should

proceed given that the Bureau’s rulemaking proposes to revisit only the underwriting provisions,

and not the payments provisions. They have not yet reached agreement on a joint proposal to

make to the Court, but believe they may be able to do so. The parties will continue these

discussions and submit an additional status report by next Friday, March 8, 2019, that either

makes a joint proposal on how the litigation should proceed or, if the parties cannot reach

agreement, sets forth each party’s position on how the litigation should proceed.




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Dated: March 1, 2019

Respectfully submitted,

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                                                 Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

I hereby certify that on March 1, 2019, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following:

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                                             /s/ Kristin Bateman
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